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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                            Case No. 2:12-cr-12-09
                                                              HON. R. ALLAN EDGAR
ROBIN GINE VOELKER,

            Defendant.
__________________________________/


                            REPORT AND RECOMMENDATION

               Defendant Robin Gine Voelker moves to suppress statements that she made during

an interview after her arrest on January 9, 2013. A hearing was held on June 4, 2013. Defendant

argues that the statements were a product of coercion and not voluntarily made. On November 7,

2012, defendant was indicted by a grand jury for conspiracy to distribute and possess heroin and

cocaine base. A warrant was issued for defendant’s arrest.

               At the hearing, DEA Special Agent Jeffrey Poikey and Michigan State Police

Detective Jeff Marker testified that they executed the arrest warrant on January 9, 2013, at about

4:00 p.m. That date was selected because they were both busy and it was the best date to coordinate

the arrest. Detective Marker also testified that they purposely waited until after the holiday season

to make the arrest. Detective Marker testified that his work shift begins at 2:00 p.m. Special Agent

Poikey met Detective Marker in Escanaba on January 9, 2013. The two officers proceeded to

Stevenson, Michigan, where defendant resides. They knocked on the door of her residence and there

was no answer. Detective Marker knew that defendant’s parents lived nearby, so the officers pulled
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into a VFW hall and watched defendant’s parents’ home for about 45 minutes to one hour. Detective

Marker then telephoned defendant and explained that he wanted to talk to her at her home. The

officers observed defendant leave her parents’ home and drive to her home. The officers followed

defendant to her home and defendant took them inside her home. The officers told defendant that

they had a warrant for her arrest. Special Agent Poikey read defendant Miranda rights from a card

that he carries in his wallet. Defendant stated that she understood each right. Defendant was

cooperative during the arrest, but expressed concern about her children. Defendant was informed that

she would be taken to Marquette, Michigan, lodged in the county jail, and would appear before a

federal magistrate judge the next day.

               Defendant was handcuffed in the front and placed in the rear of the officer’s vehicle

for transport to Marquette. During the drive to Escanaba to retrieve Detective Marker’s vehicle,

Special Agent Poikey conducted an interview after reminding defendant of her Miranda rights.

Special Agent Poikey stated that he was interested in getting defendant to talk to him and getting her

to cooperate with the investigation. Defendant was informed that a magistrate judge would

determine whether defendant would be detained. The officers informed defendant that since she

was cooperative, had a residence in Stevenson, and had children, it was unlikely that the Assistant

United States Attorney would move for her detention.

               During the interview, defendant stated that she met Leroy Evans or “Country” and had

a short relationship with him. Defendant learned that Evans had been arrested. At some point, Evans

called defendant and asked her to contact his brother Mike from Milwaukee, Wisconsin. She stated

that she did not do anything wrong, but admitted picking up money owed to Mike and sending the

money to Mike on a weekly basis. At some point, she learned that the money was payment for heroin



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and cocaine base. She stated that she did this for six to eight months. When she made the statement

that she was not involved in the distribution or use of cocaine, the officers responded that they did

not believe her. Defendant responded that “they were just small amounts.”

               Defendant argues that her statements were made involuntarily because her arrest was

made at 4:00 p.m., making it impossible for arraignment to occur until the next day. Defendant

suggests that the officers encouraged her to cooperate, implying that the judge would be more

favorable to her if she cooperated. Defendant further maintains that the officers tricked her into

cooperating by offering her a release on bond.

               When a defendant claims that his confession was coerced, the government bears the

burden of proving by preponderance of the evidence that defendant’s waiver was voluntary. See Lego

v. Twomey, 404 U.S. 477, 489 (1972); North Carolina v. Butler, 441 U.S. 369 (1979). In determining

whether or not the waiver was voluntary, the Court is required to look at the totality of the

circumstances to determine whether or not the police officers engaged in coercive conduct during the

interrogation and whether or not the coercive conduct resulted in the incriminating statements. See

Colorado v. Connelly, 479 U.S. 157 (1986). Factors which should be considered are the location of

the questioning, whether Miranda warnings were given, the number of interrogators, the length of

questioning, whether or not the defendant was denied food, water or toilet facilities, and whether the

police used threats, promises, lies or tricks. Id.

               In Connelly, the court rejected the argument that a defendant’s mental state without

police coercion was enough to suppress a confession as involuntary. In that case, the defendant

suffered from chronic schizophrenia. The voice of God told defendant to confess to the murder.

Defendant contacted police and confessed to the murder. The Supreme Court rejected the contention



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that defendant’s mental state alone rendered the confession involuntary. “But this fact does not justify

a conclusion that a defendant’s mental condition, by itself and apart from its relation to official

coercion, should ever dispose of the inquiry into constitutional ‘voluntariness.’” Id. at 164.

               In Daoud v. Davis, 618 F.3d 525 (6th Cir. 2010), the court explained:

               Daoud contends that he did not knowingly and intelligently waive his
               Miranda rights when he confessed to his mother’s murder and that
               admitting those statements at trial violated his Fifth Amendment
               rights. In Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d
               694 (1966), the Supreme Court established “certain procedural
               safeguards that require police to advise criminal suspects of their rights
               under the Fifth and Fourteenth Amendments before commencing
               custodial interrogation.” Duckworth v. Eagan, 492 U.S. 195, 201, 109
               S.Ct. 2875, 106 L.Ed.2d 166 (1989). However, a suspect may waive
               his Miranda rights “provided the waiver is made voluntarily,
               knowingly, and intelligently.” Miranda, 384 U.S. at 444, 86 S.Ct.
               1602. This inquiry “has two distinct dimensions.” Colorado v. Spring,
               479 U.S. 564, 573, 107 S.Ct. 851, 93 L.Ed.2d 954 (1987) (quoting
               Moran v. Burbine, 475 U.S. 412, 421, 106 S.Ct. 1135, 89 L.Ed.2d 410
               (1986)).

                       First, the relinquishment of the right must have been
                       voluntary in the sense that it was the product of a free
                       and deliberate choice rather than intimidation,
                       coercion, or deception. Second, the waiver must have
                       been made with a full awareness both of the nature of
                       the right being abandoned and the consequences of the
                       decision to abandon it. Only if the “totality of the
                       circumstances surrounding the interrogation” reveal
                       both an uncoerced choice and the requisite level of
                       comprehension may a court properly conclude that the
                       Miranda rights have been waived.

               Moran, 475 U.S. at 421, 106 S.Ct. 1135 (quoting Fare v. Michael C.,
               442 U.S. 707, 725, 99 S.Ct. 2560, 61 L.Ed.2d 197 (1979)).

               To be deemed knowing and intelligent, “[t]he Constitution does not
               require that a criminal suspect know and understand every possible
               consequence of a waiver of the Fifth Amendment privilege.” Spring,
               479 U.S. at 574, 107 S.Ct. 851. Instead, “we examine ‘the particular
               facts and circumstances surrounding [the] case, including the


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               background, experience, and conduct of the accused,’” Garner v.
               Mitchell, 557 F.3d 257, 261 (6th Cir.2009) (alterations in original)
               (quoting Johnson v. Zerbst, 304 U.S. 458, 464, 58 S.Ct. 1019, 82
               L.Ed. 1461 (1938)), to determine “whether the ‘suspect [knew] that he
               [could] choose not to talk to law enforcement officers, to talk only
               with counsel present, or to discontinue talking at any time,’” id.
               (alterations in original) (quoting Spring, 479 U.S. at 574, 107 S.Ct.
               851).

Id. at 528-530. See also Garner v. Mitchell, 557 F.3d 257 (6th Cir. 2009).

               Defendant presented the court with the recent unpublished Sixth Circuit opinion

United States v. Siler, No. 11-5975 (6th Cir., May13, 2013), as authority. In that case, the Sixth

Circuit found that the statements made by defendant were not voluntary. The officer read defendant

Miranda rights and defendant waived those rights. The officer misrepresented the evidence and told

defendant they had a pretty good case against defendant for two burglaries. Further, the officer made

the promise that if defendant helped locate a handgun, he would use his clout with the district attorney

to assure that defendant would receive drug rehabilitation instead of jail time. He further told

defendant that he would speak to the probation officer and inform him that defendant was a good

candidate for probation. The officer stated that defendant would not be charged with a crime if he

cooperated.

               In a second interview, the officer told defendant that he could not make any promises,

but he would speak to the district attorney. Defendant waived his Miranda rights, but indicated that

he did not want to incriminate himself. The officer stated that he would speak with the district

attorney and the attorney always worked with him and would this time. Defendant then confessed

to the crime and indicated that he sold the gun to his nephew. The officer then told defendant he

would speak with the district attorney and that the case would not go to federal court. Defendant was

then charged in federal court and pleaded under an agreement that allowed him to challenge his


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statements. Defendant was convicted to sixteen years imprisonment and five years of supervised

release. The Sixth Circuit found that the officer’s offers of leniency were coercive and were the

motivating factors in defendant’s confession. The Sixth Circuit found that the government failed to

show that defendant’s confession was voluntary.

               The Sixth Circuit has established three factors to determine whether a confession was

involuntary: the police activity was objectively coercive; the coercion in question was sufficient to

overbear the defendant’s will; and the alleged police misconduct was the crucial motivating factor

in the defendant’s decision to offer the statement. United States v. Mahan, 190 F.3d 416, 422 (6th

Cir. 1999).

               In this case, the statements made by defendant were voluntary and not the product of

coercion. The government established that the arrest occurred at 4:00 p.m. because that was the time

that was convenient for the officers making the arrest. Detective Marker worked the afternoon shift

and began work at 2:00 p.m. There was nothing coercive about the time of the arrest. The testimony

of the officers establishes that defendant understood her Miranda rights and voluntarily waived those

rights. No promises were made to defendant in exchange for her statements. Nothing said or done

by either Special Agent Poikey or Detective Marker amounted to prohibited coercive conduct. The

government has established that defendant’s statements were voluntary after she made a valid wavier

of Miranda rights.

               Accordingly, it is recommended that defendant Robin Voelker’s Motion to Suppress

Statement (docket #253) be denied.

               NOTICE TO PARTIES: Objections to this Report and Recommendation must be

served on opposing parties and filed with the Clerk of the Court within fourteen (14) days of receipt



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of this Report and Recommendation. 28 U.S.C. § 636(b)(1)(C); Fed. R. Civ. P. 72(b); W.D. Mich.

LCivR 72.3(b). Failure to file timely objections constitutes a waiver of any further right to appeal.

United States v. Walters, 638 F.2d 947 (6th Cir. 1981). See also Thomas v. Arn, 474 U.S. 140 (1985).



                                              /s/ Timothy P. Greeley
                                              TIMOTHY P. GREELEY
                                              UNITED STATES MAGISTRATE JUDGE

Dated: June 14, 2013




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